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VERONICA YEAKLE
601 West State Street
Apartment #1 1

Trenton, Ohio 45067

Plaintiff,
v.

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` . .._ ,
11 v ..»1 .,

[N THE COURT OF COMMON PLEAS
HAM]LTON COUNTY, OHIO

CIVIL DIVISION

ABUBAKAR ATIQ DURRANI, M.D.

Pakistan
(Served via Hague Convention)

And

CENTER FOR ADVANCED SP]NE
TECHNOLOGIES, lNC.
(Served via Hague Convention)

And

WEST CHESTER HOSPITAL, LLC
7700 U`NIVERSITY DRIVE
WEST CHESTER, OH 45069

SERVE: GH&R BUSINESS SVCS., INC.

'511 WALNUT STREET

.caSeN§_ A160.0235

JUDGE

COMPLAINT
& JURY DEMAND

(ALL NEW DR. DURRANI
CASES SHALL GO TO JUDGE
RUEHLMAN PER HIS ORDER)

 

 

1900 FlFTH THIRD cENTER REG¢jL 1 g 1-:"1
clNc1NNAT1, OH 45202 ; AR MA!L WAWER .=- 'j'.j __
(Serve vla Cerhiied ma1l) ‘ 'T`§ § ; § 15
;:; ___ Z.l L_'j `<
And 1 c f-C`__jj : §
m U §§ §§ `><
UC HEALTH 153 § j §§
SERVE: GH&R BUSINESS Svcs., INC. _~; -C; m 30
511 WALNUT STREET W :;
1900 FIFTH TH1RD CENTER
cINCINNATI,oH 45202 :
(serve via certified main REGULAR M-An. wavER
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Defendants. ,‘ X%
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Comes now Plaintiff, Veronica Yeakle, and files this Corn`plajnt and jury demand and
states as follows: l
l. At all times relevant, Plaintiff was a resident of and domiciled in the State of Ohio.
2. At all times relevant, Defendant Dr. Abubakar Atiq Durrani (hereinafter “Dr. Durrani”) was
licensed to and did in fact practice medicine in the State of Ohio.
3. At all times relevant, Center for Advanced Spine Technologies, lnc. (hereinatter “CAST”),
was licensed to and did in fact perform medical services in the State of Ohio, and was and is a
corporation authorized to transact business in the State of Ohio and Kentucky.
4. At all times relevant, West Chester Hospital, LLC (hereinafter “West Chester Hospital”), was
a limited liability company authorized to transact business and perform medical services in the
State of Ohio and operate under the trade name West Chester Hospital.
5 . At all times relevant, Defendant UC Healt_h lnc.; was a duly licensed corporation which
owned, operated and/or managed multiple hospitals including, but not limited to West Chester
Hospital, and which shared certain services, proiits, and liabilities of hospitals including West
Chester.
6. At all times relevant herein, West Chester Medical Center, lnc., aka West Chester Hospita]
held itself out to the public, and specifically to Plaintiff, as a hospital providing competent and
qualified medical and nursing services, care and treatment by and through its physicians,
physicians in training, residents, nurses, agents, ostensible agents, servants and/or employees
l 7. UC Health is the corporate parent, owner and operator of West Chester Hospital, LLC.
8. UC Health Stored BMP~Z at UC Health Business Center warehouse located in Hamilton

County.

 

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9. UC Health is the corporate parent, owner and operator of West Chester Hospital, LLC. UC
Health is located in Hamilton County making Hamilton County appropriate to bring this lawsuit
lO. The subject matter of the Complaint arises out of medical treatment by Defendants in
Hamilton County, Ohio. h
ll. The amount in controversy exceeds the jurisdictional threshold of this Court.
12. This case was previously set for trial and Plaintift’s 41(A)Voluntan`ly Dismissed this case
and are now re-iiling this case.

` FACTUAL ALLEGATIONS OF PLAINTIFF
13. 7 Around January of 2013, when Plaintift"s right leg began giving out, Plaintifi` visited her
primary care physician
l4. At this visit, Plaintift’s primary care physician recommended she see a specialist
15 . On February 9, 201 3, Plaintiff fell at horne and Was taken to West Chester Hospital’s
emergency room via ambulance
16. Plaintift` saw Dr. Durrani and received a CT scan of her spine. Dr. Durrani evaluated her
and told her it was her back causing the leg issue.
17. On or about February 15, 2013, is when Dr. Durrani performed emergency surgery on
Plaintiff's spine.
18. Speciiically, during this emergency room admission, Dr. Durrani performed an LS~Sl
Laminectom and Foraminal Decompression.
19. Plaintift` was in the hospital for over one week, when she was transferred to a nursing
home for rehabilitation and physical therapy.

20. Plaintiff noticed the physical therapy only made her right leg more painful, giving her no

relief.

 

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21. Plaintiff during her recovery period developed sores on her abdomen and umbilical area
and later was tested positive for MRSA.
22. Plaintiff stayed at the nursing horne until about early June of 2013, when she was
transferred home.
23. Upon information and belief, around this time,.Plaintiff visited Dr. Dun'ani, who gave her
an epidural steroid injection.
24. Plaintiff stopped treating with Dr. -Durrani around the summer of 201 3 because she felt
Dr. Durrani did not help her and only made her pain worse.
25. When Plaintift’s pain continued she began treating with a different Doctor.
26. Plaintiff visited Dr. Albright at the Orthopedic and Sports Medicine Consultants, Inc. and
was ultimately referred to the surgeon, Dr. Robert True, who stated she needed lcnee surgery.
27. Upon information and belief, the surgery performed by Dr. Durrani was medically
unnecessary and improperly”performed.
28. As a direct and proximate result of this surgery and Dr. Durrani’s negligence, the Plaintiff
has suffered harm.

MORE SPECIFIC ALLEGATIONS BASED UPON DISCOVERY AND DEPOSITION

TESTIMONY

29. Thjs information is to demonstrate the overall negligence and inappropriate actions of Dr.
Durrani and the hospitals he worked with and/or for and/or in an individual capacity.
30. Kn'ssy Probst was Dr. Durrani’s professional and personal assistant handling
professional, academic, travel, surgery scheduling, his journals, his Boards, his credentialing, his

personal affairs and his bills.

 

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31. Krissy Probst worked as Dr. Durrani’s assistant for three years at Children’s Hospital
from 2006, 2007, and 2008.

32. Krissy Probst reported Dr. Durrani to Sandy Singleton, the Business Director at
Children’s for his having an affair with Jamie Moor, his physician assistant.

33. Krissy Probst resigned in 2008 from Dr. Durrani and remained working for three other
surgeons in the Orthopedic Department.

34. Krissy Probst worked in the Orthopedic Deparlment for eleven years horn 2002-2013.
She retired in May, 2013. v

35. Krissy Probst confirmed Dr. Durrani claims being a Prince, when he is not.

36. According to Krissy Probst, Dr. Crawford, an icon in pediatric orthopedics treated Dr.
Durrani “lilce a son.” l

37. According to Krissy Probst, Dr. Crawford, Chief of Orthopedics at Children’s
unconditionally supported Dr. Durrani no matter the issues and problems Dr. Durrani faced.
38. Dr. Durrani’s patient care at Children’s Hospital dropped off considerably after lamie
Moor became his physician assistant and they began their affair.

39. ' Dr. Durrani was the only orthopedic spine surgeon at Children’s who would performl a
dangerous high volume of surgeries.

40. At Children’s, Dr. Durrani would begin a surgery, leave and have fellows and residents
complete a surgery or do the full surgery while he was in his office with .lamie Moor, his
physician assistant for four or iive hours.
_41. Children’s Board and administration knew about Dr. Durrani doing too many surgeries

and not properly doing the surgeries. They did nothing.

 

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42. Dr. Durrani argued to Children’s administration when they complained to him that he
made them money so Children’s tolerated him and allowed him to do what he wanted.

43. Dr. Durrani, when told by Children’s that Jarnie Moor had to leave, told Children’s that
he would leave too.

44. Dr. Agabagi would do one spine patient a day at Children’s because it takes normally
eight hours for a full iiision.

45. Dr. Durrani would schedule two to three spine surgeries a day at Children’s.

46. Dr. Durrani would repeatedly have the Business Director, Sandy Singleton, or OR
Director allow him to add surgeries claiming they were emergencies when they were not.

47 . Dr. Durrani would leave a spine surgery patient for four or five hours in the surgery suite
under the care of fellows or residents, unsupervised and sit in his oflice and check on the surgery
as he pleased v

48. Dr. Peter Stern did not like Dr. Durrani while Dr. Durrani was at Children’s because he
knew all about his patient safety risk issues. Yet, Dr. Stern supported, aided and abetted Dr.
Durrani’s arrival at West Chester. lt defies comprehension, but was for one of the world’s oldest
motives_greed of money.

49. There is also a Dr. Peter Sturm, an orthopedic at Children’s who also had no use for Dr.
Durrani. l

50. Dr. Durrani chose his own codes for Children’s billing Which he manipulated with the
hill knowledge of Children’s Board and management l

51. Dr. Durrani was dating and living With Beth Garrett, a nursing school drop-out, with the

full knowledge of his wife Shazia.

 

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52. Dr. Durrani was close with DavidRattigan until David Rattigan pursued Jamie Moor and
Dr. Durrani would not allow David Rattigan in the OR at Children’s for a long time.

53. Dr. Durrani, while claiming to have riches, does not. Dr; Durrani’s wife’s family paid for
Dr. Durrani’s education and it is her family with the significant wealth.

54. Medtronics paid for Dr. Durrani’s trips and paid him $l0,000 fees for speaking or simply
showing up at a spine conference

55. Krissy Probst’s business director told her to save all Dr. Durrani related documents and
information and she did.

56. While doing research at Children’s, Dr. Durrani would misstate facts regarding his
research. Children’s knew he did this.

57. Dr. Durrani ended on such bad terms With Children’s Hospital he was not allowed on the
premises after his departure in December 20087 yet he performed a spine surgery there in
February 2009.

58. Eric J. Wall, MD was the Director of Surgical Services Division of Pediatn'c Orthopedic
Surgery when Dr. Durrani left Children’s.

59. Sandy Singleton, MBA was the Senior Business Director of Surgical Services Division of
Pediatric Orthopedic Surgery when Dr. Durrani left Children’s

60. On information and belief,` Dr. Durrani used his relationships with Children’s officials to
purge his Children’s tile of all patient safety and legal issues which had occurred as part of his '

departure “deal” which Defendants hide with privilege

 

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DR. DURRANI COUNTS:

COUNT I: NEGLIGENCE
Defendant Dr. Durrani owed his patient, Plaintiff, the duty to exercise the degree of skill,
care, and diligence an ordinarily prudent health care provider would have exercised under
like or similar circumstances
Defendant Dr. Durrani breached his duty by failing to exercise the requisite degree of
skill, care and diligence that an ordinarily prudent health care provider would have
exercised under same or similar circumstances through, among other things, negligent
diagnosis, medical mismanagement and mistreatment of Plaintiff, including but not
limited to improper selection for surgery, improper performance of the surgery, and
improper follow~up care addressing a patient’s concems.
As a direct and proximate result of the aforementioned negligence and deviation from the
standard of care on the part of the Defendant Dr. Durrani, Plaintiff sustained all damages
requested in the Prayer for Relief.

COUNT II: BATTERY

Dr. Durrani committed battery against Plaintift` by performing a surgery that was
unnecessary, contraindicated for Plaintiff’ s medical condition, and for which he did not
properly obtain informed consent, inter alia, by using BMP ~2, PureGen and/or Baxano in
ways and for surgeries not approved by the FDA and medical community, and by the
failure to provide this information to Plaintiff.
Plaintiff would not have agreed to the surgery if they knew the surgery was unnecessary,

not approved by the FDA, and not indicated

 

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As la direct and proximate result of the aforementioned battery by Dr. Durrani, Plaintiff
sustained all damages requested in the Prayer for Relief. l

COUNT III: LACK OF INFORMED CONSENT
The informed consent forms from Dr. Durrani and CAST which they required Plaintiff to
sign failed to fully cover all the information necessary and required for the procedures
and surgical procedures performed by Dr. Durrani. Dr. Durrani and CAST each required
an informed consent release.
In addition, no one verbally informed Plaintiff of the information and risks required for
informed consent at the time of or before Plaintiff" s surgery.
Dr. Durrani failed to inform Plaintiff of material risks and dangers inherent or potentially
involved with her surgery and procedures
Had Plaintiff been appropriately informed of the need or lack of need for surgery and
other procedures and the risks of the procedures, Plaintiff would not have undergone the
surgery or procedures
As a direct and proximate result of the lack of informed consent, Plaintiff` sustained all
damages requested in the Prayer for Relief.

COUNT IV: INTENTIONAL ]NFLICTION OF EMOTIONAL DISTRESS

Dr. Durrani’s conduct|as described above was intentional and reckless

It is outrageous and offends against the generally accepted standards ofmorality.

74. lt was the proximate and actual cause ofPlaintiff‘s psychological injuries, emotional

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injuries, mental anguish, suffering, and distress.
Plaintiff suffered severe distress and anguish so serious and of a nature that no`reasonable

man or woman would be expected to endure.

 

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COUNT V: FRAUD
Dr. Durrani informed the Plaintiff that Dr. Shanti Would be performing PlaintifPs
surgery, but upon information and belief, Dr. Durrani may have actually performed that
surgery.
Dr. Durrani made material, false representations to Plaintiff and their insurance company
related to Plaintiff s treatment including: stating the surgery was necessary, that Dr.
Durrani “could iix” Plaintiff, that more conservative treatment was unnecessary and
futile, that the surgery would be simple or was “no big dea ”, that Plaintiff would be
walking normally within days after each surgery, that the procedures were medically
necessary and accurately reported on the billing to the insurance company, that the
surgery was successful, and that Plaintiff was medically stable and ready to be
discharged
Dr. Durrani also concealed the potential use of lnfuse/BMP-Z and/or Puregen in
Plaintiff"s surgery, as well as other information, when he had a duty to disclose to
Plaintiff his planned use of the sarne.
These misrepresentations and/or conceahnents were material to Plaintiff` because they
directly induced Plaintjff to undergo her surgery.
Dr. Durrani knew or should have known such representations were false, and/or made the
misrepresentations with utter disregard and recklessness as to their huth that knowledge
of their falsity may be inferred.
Dr. Durrani made the misrepresentations before, during and after the surgery with the
intent of misleading Plaintiff and their insurance company into relying upon them.

Speciiically, the misrepresentations were made to induce payment by the insurance

 

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company, Without Which Dr. Durrani would not have performed the surgery, and to
induce Plaintiff to undergo the surgery without regard to medical necessity and only for
the purpose of receiving payment
The misrepresentations and/or concealments were made during Plaintifi’s ofiice visits at
Dr. Durrani’s CAST offices.
P]aintiff was justified in their reliance on the misrepresentations because a patient has a
right to trust their doctor and that the facility is overseeing the doctor to ensure the
patients of that doctor can trust the facility.
As a direct and proximate result of the aforementioned fraud, Plaintiff did undergo
surgery which was paid for in whole or in part by their insurance company, and suffered
all damages as requested in the Prayer for Relief.
COUNT VI: SPOLIATION OF EVIDENCE
Dr. Durrani willfully altered, destroyed, delayed, hid, modified and/or spoiled (“spoiled”)
PlaintifP s records, emails, billing records, paperwork and related evidence.
Dr. Durrani spoiled evidence with knowledge that there Was pending or probable
litigation involving Plaintiff.
Dr. Durrani’s conduct was designed to disrupt PlaintifPs potential and/or actual case, and
did in fact and proximately cause disruption, damages and harm to Plaintiff.
CAST COUNTS:
COUNT I: VICARIOUS LIABILITY
At all times relevant, Defendants Dr. Durrani and Dr. Shanti were agents and/or
employees of CAST.

Dr. Durrani is in fact, the owner of CAST.

 

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Defendants Dr. Durrani and Dr. Shanti were performing within the scope of their
employment with CAST during the care and treatment of Plaintiff.

Defendant CAST is responsible for harm caused by acts of its employees for conduct that
was within the scope of employment under the theory of respondeat superior.

Defendant CAST is vicariously liable for the acts-of Defendants Dr. Durrani and Dr.
Shanti alleged in this Complaint including all of the counts asserted against Dr. Durrani
and Dr. Shanti directly.

As a direct and proximate result ofDefendant CAST’s acts and omissions, Plaintiff
sustained all damages requested in the Prayer for Relief.

COUNT II: NEGLIGENT HIRING, RETENTION, AND SUPERVISION
CAST provided Dr. Durrani and Dr. Shanti, inter alia, financial support,_control, medical
facilities, billing and insurance payment support, staff support, medicines, and tangible
items for use on patients.

CAST, Dr. Durrani, and Dr. Shanti participated in experiments using BMP-2 and/or
Puregen bone graft on patients, including Plaintii`f, Without obtaining proper informed
consent thereby causing harm to Plaintiff.

CAST breached its duty to Plaintiff, inter alia, by not supervising or controlling the
actions ofDr. Durrani, Dr. Shanti, and the doctors, nurses, staff, and those with
privileges, during the medical treatment of Plaintiff at CAST.

The Safe Medical Device Act required entities such as CAST to report serious injuries,
serious illnesses, and deaths related to failed medical devices to the FDA and the
manufacturer; this was never done.

Such disregard for and violations of federal law represents strong evidence that CAST

 

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negligently hired, retained, and supervised Dr. Durrani and Dr. Shanti.

99. As a direct and proximate result of the acts and omissions herein des.cribed, including but
not limited to failure to properly supervise medical treatment by Dr. Durrani, Plaintiff
sustained all damages requested in the Prayer for Relief. \

COUNT III: SPOLIATION OF EVIDENCE

lOO. CAST, through its agents and employees, willfully altered, destroyed, delayed,
hid, modiiied and/or spoiled (“spoiled”) Plaintiff’s records, emails, billing records,
paperwork and related evidence

101. CAST, through its agents and employees, spoiled evidence with knowledge that
there was pending or probable litigation involving Plaintiff.

102. CAST’s conduct was designed to disrupt Plaintiff’s potential and/or actual case,
and did in fact and proximately cause disruption, damages and harm to Plaintiff.

` COUNT IV: OHIO CONSUMER SALES PROTECTION ACT

103. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq.
exempts physicians, a transaction`between a hospital and a patient/consumer is not
clearly exempted

104. CAST’s services rendered to Plaintiff constitute a “consumer transaction” as
defined in ORC Section 1345.01(A).

105. CAST omitted suppressed and concealed from Plaintiff facts with the intent that
Plaintiff rely on these omissions, suppressions and conceahnents as set forth herein.

106. CAST’s misrepresentations, and its omissions, suppressions and concealments of

fact, as described above, constituted unfair, deceptive and unconscionable acts and

 

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practices in violation of O.R.C 1345.02 and 1345.03 and to Substantive Rules and case
law.

107. CAST was fully aware of its actions.

108. _CAST was fully aware that Plaintiff was induced by and relied upon CAS'I_"s
representations at the time CAST was engaged by Plaintiff.

109. Had Plaintiff been aware that CAST’s representations as set forth above were
untrue, Plaintift` would not have used the services of Defendants.

llO. CAST, through its agency and employees knowingly committed the unfair,
deceptive and/or unconscionable acts and practices described above.

lll. CAST’s actions were not the result of any bona tide errors.

112. As a result ofCAST’s unfair, deceptive and unconscionable acts and practices,
Plaintiff has suffered and continues to suffer damages, which include, but are not limited
to the following:

a. Loss of money paid
b. Severe aggravation and inconveniences
e. Under o.R.c. 1345_01 Pienrdrrie ensued re;`

i. An order requiring that CAST restore to Plaintiff all money received
from Plaintiff plus three times actual damages and/or actual/statutory
damages for each violation;

n. An incidental end consequential damages incurred by ridindrr;

iii. All reasonable attorneys’ fees, witness fees, court costs and other

fees incurred;

 

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COUNT V: FRAUD

ll3. CAST sent out billing to PlaintifP s insurance company after the surgeries at
WCH.
\ 114. The exact dates these medical bills were sent out are ret]ected in those medical
bills.
l 15. These bills constituted affirmative representations by CAST that the charges

related to Plaintift’s surgeries were medically appropriate and properly documented

ll6. The bills were sent with the knowledge of CAST that in fact Plaintiff’s surgeries
were not appropriately billed and documented and that the services rendered at West
Chester Hospital associated With Dr. Durrani Were not appropriate

l 17. The bills sent by CAST to»Plaintiff falsely represented that Plaintiff's surgeries
were appropriately indicated, performed and medically necessary in contra-indication of
the standard of care.

118. Plaintiff reli ed on the facility holding Dr. Durrani out as a surgeon and allowing
him t_o perform surgeries at its health care facility as assurance the facility was overseeing
Dr. Durrani, vouching for his surgical abilities, and further was appropriately billing
Plaintiff for CAST’s services in association with Dr. Durrani’s surgery.

119. As a direct and proximate result of this reliance on the billing of CAST, Plaintiff
incurred medical bills that she otherwise would not have incurred.

120. CAST also either concealed from P]aintiff that they knew about Dr. Durrani,
including that lnfuse/BMP-Z and/or Puregen would be used in Plaintiff’s surgeries, or
misrepresented to Plaintiff the nature of the surgeries, and the particular risks that were

involved therein.

 

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121. CAST’s concealments and misrepresentations regarding Inlirse/BMP-Z and/or
Puregen and the nature and risks of Plaintifi’ s surgeries Were material facts.

122. Because of its superior position and professional role as a medical service
provider, CAST had a duty to disclose these material facts to PlaintiH and a duty to
refrain from misrepresenting such material facts to Plaintiff.

123. CAST intentionally concealed and/or misrepresented said material facts with the
intent to defraud Plaintiff in order to induce Plaintiff to undergo the_surgeries, and
thereby profited iioni the surgeries and procedures Dr. Durrani performed on Plaintiff at
WCH.

124. Plaintiff is still awaiting itemized billing from CAST reflecting the exact totals
charged for the use of Infuse~BMIP-Z on Plaintiff.

125. Had Plaintiff known before Plaintiff' s surgeries that Iniiise/BMP-Z and/or
Puregen would be used in Plaintiff’s spine and informed of the speciiic, harmful risks
flowing therefrom, Plaintiff would not have undergone the surgery with Dr. Durrani at
West Chester Hospital.

126. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will
indicate that CAST falsely represented that Plainans surgery was appropriately
indicated,`performed, and medically necessary in contra-indication of the standard of
care.

127. l Plaintiff is still awaiting billing from CAST reflecting the exact totals charged for
the use of BMP-2 on Plaintiff.

l28. As a direct and proximate result ofthe fraud against plaintiff by CAST, Plaintiff

sustained all damages requested in the prayer for relief.

 

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WEST CHESTER HOSPITAL/UC HEALTH COUNTS:
coUNT I: NEGLIGENCE

129. West Chester Hospital/UC Health owed their patient, Plaintiff, through its agents and
employees the duty t'o exercise the degree of skill, care, and diligence an ordinarily

prudent health care provider would have exercised under like or similar circumstances

130. West Chester Hospital/UC Health acting through its agents and employees breached
their duty by failing to exercise the requisite degree of skill, care and diligence that an
ordinarily prudent'health care provider would have exercised under same or similar
circumstances through, among other things, negligent diagnosis, medical mismanagement
and mistreatment of Plaintiff, including but not limited to improper selection for surgery,
improper performance of the surgery, improper assistance during Plaintiff s surgery and
improper follow up care addressing a patient’s concems.

13l . The agents and employees who deviated from the standard of care include nurses,
physician assistants, residents and other hospital personnel who participated in Plaintist
surgery.

132. The management employees, nurses, technicians, agents and all staff during the scope
of their employment and/or agency of West Chester Hospital/UC Health’s knowledge
and approval, either knew or should have known the surgery was not medically necessary
based upon Dr. Durrani ’s known practices; the pre-op radiology; the pre-op evaluation
and assessment; and the violation of their responsibility under the bylaws, rules,
regulations and policies of West Chester Hospital/UC Health.

133. As a direct and proximate result of the aforementioned negligence and deviation ii'orn

the standard of care by the agents and employees of West Chester Hospital/UC Health,

 

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Plaintiff sustained all damages requested in the Prayer for Relief.

COUNT II: NEGLIGENT CREDENTIAL]NG, SUPERVISION, AND RETENTION

134. As described in the Counts asserted directly against Dr. Durrani, the actions ofDr.
Durrani with respect to Plaintiff constitute medical negligence, lack of informed consent,
battery, and Baud.

135. West Chester Hospital/UC Health negligently credentialed, supervised, and
retained Dr. Durrani as a credentialed physician, violating their bylaws and JCAHO rules
by:

a. Allowing Dr. Durrani to repeatedly violate the West Chester Hospital/UC Health bylaws

` with it’s full knowledge of the same;

b. Failing to adequately review, look into, and otherwise investigate Dr. Durrani’s
educational background, Work history and peer reviews when he applied for and
reapplied for privileges at West Chester Hospital;

c._ Ignoring complaints about Dr. Durrani’s treatment of patients reported to it by West
Chester Hospital staff, doctors, Dr. Durrani’s patients and by others;

d. Ignoring information they knew or should have known pertaining to Dr. Durrani’s
previous privileged time at other Cincinnati area hospitals, including Children’s Hospital,
University Hospital, Deaconess Hospital, Good Samaritan Hospital and Christ Hospital.

136. The Safe Medical Device Act required entities such as West Chester Hospital/UC
Health to report serious injuries, serious illnesses, and deaths related to failed medical
devices to the FDA and the manufacturer; this was never done.

137. As a direct and proximate result of the negligent credentialing, supervision, and

retention ofDr. Durrani, Plaintiff sustained all damages requested in the Prayer for

Relief.

 

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COUNT III: FRAUD

138. Plaintiffs incorporates each and every factual allegation pled in all prior
paragraphs
139. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will

indicate that WCH falsely represented that Plaintiffs surgery was appropriately
indicated, performed, and medically necessary in contra-indication of the standard of
care.

140. Defendants concealed from Plaintiffs facts they knew about Dr. Durrani and made
misrepresentations to Plaintiffs as detailed in this Complaint as fully detailed in the
paragraphs of this Complaint

141 . Defendant’s concealments and misrepresentations were material facts.

142. Defendants had a duty to disclose these material facts to Plaintiff's and a duty to
refrain from misrepresenting such material facts to Plaintiffs.

143. Defendants intentionally concealed and/or misrepresented material facts with the
intent to defraud Plaintiffs in order to induce Plaintiffs to undergo the surgery or cause
them not to decide to cancel surgery, and thereby profited from the surgeries and
procedures Dr. Durrani performed on Plaintiffs at West Chester Hospital/UC Health.

144. West Chester Hospital/UC Health either concealed from Plaintiff facts they knew
about Dr. Durrani, including that West Chester Hospital/UC Health’s concealments and

misrepresentations regarding the nature and risks ofPlaintiff’s surgeries were material

facts.

 

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145. Because of its superior position and professional role as a medical service
provider, West Chester Hospital/UC Health had a duty to disclose these material facts to
Plaintiff and a duty to refrain from misrepresenting such material facts to Plaintiff.

146. West Chester Hospital/UC Health intentionally concealed and/or misrepresented
said material facts With the intent to defraud Plaintiff in order to induce Plaintiff to
undergo the surgery, and thereby profited from the surgeries and procedures Dr. Durrani
performed on Plaintiff at West Chester Hospital/UC Health.

l47. According to Dr. Peter Stem, he knew Dr. Durrani was only “satisfactory” and
not a world class surgeon as West Chester advertised

148. According to lill Stegman, the risk manager at West Chester, she and others knew
Dr. Durrani had “issues”.

149. According to fenner nursing manager, Elaine Kunko, West Chester Hospital
knew about Dr. Durrani not completing records and claiming surgeries were emergencies
when they were not.

150. Had Plaintiffs known, before surgeries, that surgery was unnecessary, Plaintiffs
would not have undergone the surgeries with Dr. Durrani at West Chester Hospital/UC
Health.

151 . Plaintiff is still awaiting itemized billing from WCH reflecting the exact totals
charged for the use of BMP-Z on Plaintiff.

152. As a direct and proximate result of the fraud upon Plaintiffs by Defendants,

Plaintiffs sustained all damages requested in the prayer for relief.

 

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COUNT IV: SPOLIA'I‘ION OF EVIDENCE

153. West Chester Hospital/00 Health through its agents and employees, willfully
altered, destroyed, delayed, hid, modified and/or spoiled (“spoiled”) Plaintift’s records,
emails, billing records, paperwork and related evidence

154. West Chester HospitalfUC Health through its agents and employees, spoiled
evidence with knowledge that there was pending or probable litigation involving
Plaintiff.

155. West Chester Hospital/UC Health’s conduct was designed to disrupt Plaintift’s
potential and/or actual case, and did in fact and proximately cause disruption, damages
and harm to Plaintiff.

COUNT V: OHIO CONSUMER SALES PROTECTION AC'I`

. 156. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq.
exempts physicians, a transaction between a hospital and a patient/consumer is not
clearly exempted

157. West Chester Hospital/UC Healtb’s services rendered to Plaintiff constitute a
“consumer transaction” as deiined in ORC Section 1345.01(A). n

15 8. West Chester Hospital/UC Health omitted suppressed and concealed from
Plaintiff facts with the intent that Plaintiff rely on these omissions, suppressions and
concealments as set forth herein. v

159. West Chester Hospital/UC Health’s misrepresentations, and its omissions,
suppressions and concealments of fact, as described above, constituted unfair, deceptive
and unconscionable acts and practices in violation of O.R.C 1345.02 and 1345,03 and to

Substantive Rules and case law. '

 

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160. West Chester Hospital/UC Health was fully aware-of its actions.
l6l. West Chester Hospital/UC Health was fully aware that Plaintiff was induced by
and relied upon West Chester Hospital/UC Health’s representations at the time West

Chester Hospital/UC Health was engaged by Plaintiff.

le. Had Plaintiff been aware that West Chester Hospital/UC Health’s representations
as set forth above were untrue, Plaintiffwould not have used the services of Defendants.

163. West Chester Hospital[lJC Health, through its agency and employees knowingly
committed the unfair, deceptive and/or unconscionable acts and- practices described
above.

164. l West Chester Hospital/UC Health ‘s actions Were not the result of any bona fide
errors.

165. As a result of West Chester Hospital/UC Health’s unfair, deceptive and

unconscionable acts and practices, Plaintiff has suffered and continues to suffer damages,

which include, but are not limited to the following: 3
a. Loss of money paid
b. Severe aggravation and inconveniences

c, Under O.R.C. 1345,01 Plaintiff is entitled to:

i. An order requiring West Chester Hospital/UC Health restore to Plaintiff
all money received from Plaintiff plus three times actual damages and/or
actual/statutory damages for each violation; l

ii. All incidental and consequential damages incurred by Plaintiff;
iii. All reasonable attorneys’ fees, witness fees, court costs and other fees

incurred,'

 

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COUNT VI: PRODUCTS LIABILITY
166. _ At all times lnfuse/BMP-2 and Puregen are and were products as defined in R.C.
§ 2307.71(A)(12) end nppireebre rew. l
167 . Defendant (aka supplier) supplied either Medtronic’s (alca manufacturer)
lnfuse/BMP-?. or Alphatec Spine’s (alca manufacturer) Puregen fo_r surgery performed by

Dr. Durrani on Plaintiff.

168. Defendant, as a supplier, failed to maintain either lnfuse/BMP-Z or Puregen
properly.
169. Defendant did not adequately supply all components required to use either

Infuse/BMP-?. or Puregen properly.

170. Defendant knew or should have known the FDA requirements and Medtronic's

requirements for using either Infuse/BMP-.'Z or Puregen.

l7l. Defendant stored either Infuse/BMP-Z or Puregen at its facility.

172. Defendant ordered either Infuse/BMP-Z or Puregen for surgery performed by
Durrani.

l73. Defendant did not adequately warn Plaintiff that either lnfuse/BMP-Z or Puregen

would be used without all FDA and manufacturer required components.

l74. Defendant did not gain informed consent from Plaintiff for the use of either
lnfuse/BMP-Z or Puregen, let alone warn of the supplying of the product without FDA
and manufacturer requirements

l75. Defendant intentionally billed Infuse/BMP-Z and/or Puregen as “Miscellaneous”

to prevent the discovery of the use of Infuse/BMP and/or Puregen by Plaintiff.

 

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176. Defendant failed to supply either lnii.rse/BMP-Z or Puregen (aka product) in the
manner in which it Was represented

177. Defendant failed to provide any warning or instruction in regard to either
Infuse/BMP-.'Z or Puregen, and failed to make sure any other party gave such warning or
instruction

178. Plaintiff suffered physicali frnancial, and emotional harm due to Defendant‘s
violation of the Ohio Products Liability act Plaintiff's injuries Were a foreseeable risk

179. Plaintiff did not alter, modify or change the product, nor did Plaintiff know that
the product was being implanted without all required components

180. y Defendant knew or should have known that the product was extremely dangerous
and should have exercised care to provide a warning that the product was being used and
that the product was being used outside FDA and manufacturer requirements The harm
caused to Plaintiff by not providing an adequate warning Was foreseeable,

181 . Defendant knew that the product did not conform to the representation of the
intended use by the manufacturer yet permitted the product to be implanted into Plaintiff.

182. Defendant, as a supplier, acted in an unconscionable manner in failing to supply
the product without all FDA and manufacturer required components

183. Defendant, as a supplier, acted in an unconscionable manner in failing to warn
Plaintiff that the product was being supplied without all FDA and manufacturer required
components

184. Defendant's actions demonstrate they took advantage of the Plaintiffs inability,

due to ignorance of the product, to understand the product being implanted without FDA _

and manufacturer required components

 

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185. Defendant substantially benefited financially by the use of the product as the
product allowed for Defendant to charge more for the surgery.

186. Plaintiff suffered economic loss as defined in R.C, § 2303.71(A)(2) and
applicable law.

187. Plaintiff suffered mental and physical harm due to Defendant's acts and
omissions l

188. Plaintiff suffered emotional distress due to acts and omissions of Defendant and is

entitled to recovery as defined in R.C, § 2307.71(A)(7) and applicable law.

189. Defendant violated the Ohio Products Liability Act R.C. § 2307.71-2307.80
190. Defendant violated R.C, § 2307.71(A)_(6)
l91. Defendant violated The Ohio Consumer Sales Practices Act R.C. § 1345.02-.03.
192. Defendant provided inadequate Warnings are defined in R.C, § 2307.76(A) and
applicable law.
PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff requests and seeks justice in the form and procedure of a jury, verdict
and judgment against Defendants on all claims for the following damages

. Past medical bills;

. Future medical bills;

. Lost income and benefits;

. Lost future income and benefits;

. Loss of ability to earn income;

. Past pain and suffering;

. Future pain and suffering;

. Plaintiff seeks a finding that their injuries are catastrophic under Ohio Rev. Code §2315.18;

 

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9. Plaintiff seeks all relief available under the Ohio Products Liability Act R.C. § 2307.71-2307.80
and applicable law; k
lO. All incidental costs and expenses incurred as a result of their injuries;
ll. The damages to their credit as a result of their injuries;
12. Punitive damages;
13. Costs;
14. Attorneys’ fees;
15. Interest;
16. All property loss;
17. All other relief to which they are entitled including O.R.C. 1345.01
Based upon l-l6 itemization of damages the damages sought exceed the minimum jurisdictional

l amount of this Court and Plaintiff seeks in excess of $25,000.

Respectfully Submitted,'

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Meariew nennnér (0092483)
Lindsay Boese (009l 307)
Altor)ieysfo)'PIai)mj

5247 Madison Pike '
Independence, KY 41051 '
Phone; 513-729-1999

Fax; 513-381-4084
rnhammer@ericdeters.com

JURY DEMAND
Plaintiffs make a demand for a jury under all claims

 

Meraiew rraininer‘(ooazdss)
Lindsay L. Boese (0091307)

 

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AFFIDAVIT OF MERIT
FOR VERONICA YEAKLE

I, Andrew Collier, MD, after being duly sworn and cautioned state as follows:

l , l have made a preliminary review of all relevant medical records and other information
provided to me regarding the above named patient concerning the allegations in her
lawsuit filed o_r to be filed (I’m fully aware of the lawsuits and claims being filed in
what is referred to as the Durrani litigation.)

2. Based upon my preliminary review.of the medical records and other information
provided to me, my education, training and experience, it is my opinion, based upon a
reasonable degree of medical probability that the Defendants, Dr. Durrani, CAST and
West Chester Medical Center deviated from the standard of care for the care and
treatment of the above named patient, including lack of informed consent, and that
deviation proximately caused harm and damages to the above named patient

3. l devote at least one half of my professional time to the active clinical practice in my field
of licensure, or its instruction to an accredited school.

4. l will supplement this affidavit with another, by a letter or by testimony, based upon any
information provided to me after l execute it

5 . l am familiar with applicable standard of care for Ohio, Kentucky and the country for an '
orthopedic/spine surgeon such as Dr. Durrani.

6. The facts support the patient’s claim for negligence, battery, lack of consent and fraud

7. As a result of the negligence and conduct the patient suffered damages proximately
caused by them, including the following:

A. Perrnanent disability

. Physieal deformity and scars

Past, Current and Future Physical and Mental Pain and Suffering

Lost income past, present and future

Loss of enjoyment of life

Past medical expenses

Future medical expenses approximately in the amount of$50,000 to $250,000
depending on course of treatment

Aggravation of a pre-existing condition

Decreased ability to earn income

re ensued

 

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AFFIANT SAYETH FURTHER NOT

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ANQB§§/C`ULLIER, M.D. »/

NOTARY

SUBSCRIBED, SWORN TO AND ACKNOWLEDGED befote me, a Notary Public, by Andrew

cottaer,M.D. on this GQQ day FM_, 2015.
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Nor#ARY PUBLt`c“ `

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' 10.

AFFIDAVIT OF MERIT
FOR STAGE II WES'I` CHESTER CLAIMS

I, Keith D. Wilkey, M.D., after being duly sworn and cautioned states as follows:

I devote at least one-half of my professional time to the-active clinical practice in my
iield of licenstn'e, or its instruction in an accredited school, I am an orthopedic
surgeon whose focus is on spine surgery and treatment of those with spine issues.

I will supplement this affidavit with another, by a letter or by testimony, based upon
any information provided to me after l execute itt

My curriculum vitae has been previously provided to opposing counsel in these Dr.
Durrani cases and can be provided again upon request For my review, l rely upon
my education, training and experience

I have not counted but l have reviewed, over 300 or more cases involving Dr.
Durrani and the hospitals where he once had privileges

I base my opinions in part on my review of all the cases l have reviewed which have
revealed similar conduct by Dr. Durrani and the hospitals where he had privileges

l am familiar with applicable standard of care for Ohio, Kentucky and the country
for an orthopedic/spine surgeon such as Dr. Durrani

I am also familiar with applicable standard of care, policies, rules and regulations,
medical executive committee bylaws, .TCAHO requirements, credentialing,
supervising, retention of medical staff, granting and rejecting privileges and the peer
review process for West Chester Hospital, LLC, also referred to as West Chester
Hospital or West Chester Mcdical Center and UC Health.

' l have reviewed the Response to Sumrnary']udgment in the Brenda Shell case and

all the exhibits attached to it.

The Center for Advanced Spine Technologies, lnc. Was Dr. Durrani’s practice group
and he Was the sole owner, director and officer of CAST as well as an employee
CAST as such is also responsible for Dr. Durrani’s negligence and for their failure to
also supervise, discipline and retain Dr. Durrani.

Based upon my review of the deposition testimony, the lCAHO requirements, the
MEC bylaws and all the information provided to me, l am able to adopt the
following opinions relating to WCMC and UC Health pertaining to the claims
against them. WCMC’s and UC Health’s actions and inactions detailed in this
affidavit proximately caused harm to _Plaintiff. WCMC and UC Health are both
being referenced when only WCMC is named l hold the following opinions
relative to WCMC and UC Health pertaining to their conduct acting through their

 

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administration and MEC. The time period covered is from the time Dr. Durrani
sought privileges prior to WCMC opening in May 2009 through May 2013 when
he no longer had privileges I_n addition to my opinions, l set forth facts I rely
upon. This includes all which I referenced that I reviewed In addition to all of
the above, l attest to the following:

10.

ll.

12.

FACTS _

According to West Chester’s first Executive Vice President, Carol King, she
did not explore the “rumors” about Dr. Durrani’s leaving Children’s.

According to Carol King, the hospital tracked problem issues yet WCMC
have failed to produce the information under peer review protection

According to circulating nurse, `Janet Smith, presets Were changed in the
computer to indicate the procedure Dr. Durrani performed after the procedure

According to Janet Smith, despite no one at West Chester never Working with
Dr. Durrani before, WCMC never checked him out.

According to former University Hospital President (a UC Health hospital),
Brian Gibler, hospitals face financial challenges

According to risk manager, David Schwallie, risk management knew Durrani
had issues. '

According to radiologist, Thomas Brown, there were surgeons questioning
Durrani’s decisions to perform surgery. '

According to medical staff director, Paula Hawk, a policy called “stop the
lying” was implemented the same year and month they kicked out Dr.
Dtu'rani. This infers a poor environment of honesty and disclosure before this
policy. '

According to Paula Hawk and as the director of medical staff, money is not
supposed to trump patient safety.

According to Paula Hawk, she admits peer review is for hospitals to protect
each other.

According to Paula Hawk, she admits hospitals are interested in volume,
something Dr. Durrani provided for WCMC and UC Health.

According to Mike Jeffers, the director of finance, they tracked Dr. Durrani’s
financial numbers

 

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13. According to Mike Jeffers, he admits Dr. Durrani helped them in their time of
need.

14. According to Mike Jeffers, Dr. Durrani was the highest money generator.

15 . According to Mike ieffers, he knew Dr. Durrani had more than one surgical
suite assigned at once.

16. According to Mike Jeffers, bonuses were paid to him and others based upon
finances

17. According to Dr. Peter Stern, he knew Dr. Durrani was only “satisfactory,”
not a World class spine surgeon as West Chester advertised

18. Dr. Stern doesn’t deny admitting UC Health looked the other way on Durrani
because of money.

19. According to credentialing manager, Ann Shelly, there was plenty of “public
knowledge” about Dr. Durrani to check before credentialing.

20. According to Ann Shelly, West Chester relied on the NPDB they knew was
protected by hospitals

21, Dr. Eric Schneeberger, Dr. Durrani’s partner, was on the MEC at WCMC.

22. According to Eric Schneeberger, West Chester knew about Durrani
scheduling surgeries long into the day and night. '

23. According to former nursing manager, Elaine Kunko, WCMC knew about Dr.
Durrani not completing records.

24. According to Elaine Kunko, WCMC knew Dr. Durrani would claim surgeries
Were emergency when they were not.

25. According to Elaine Kunko, WCMC knew there was an issue with Dr.
Durrani not being in the room doing surgery on “his” patient

26 . According to Elaine Kunko, even the OR nurses knew WCMC put up with
Dr. Durrani for money.

27. According to Elaine Kunko, WCMC tracked Dr. Durrani’s financial numbers

28. According to perioperative director, Lisa Davis, WCMC knew Durrani’s
office is supposed to get consents so WCMC had an obligation to make sure
they did. `

 

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29. According to J ill Stegman, the risk manager at West Chester, she knew
Durrani had “issues.”

30. Jill Stegman confirms Gerry Goodman’s complaints

31. According to Kathy Hays, WCMC knew how Dr. Durrani used BMP-Z and
PureGen.

32. Dr. Tim Kremchek, the Chief of the Orthopedic department, failed to do his
job under the MEC bylaws as it related to the supervision and review of Dr.
Durrani.

33. According to Dr. Tim Kremchek, he knew Dr. Durrani was “sloppy.”

34. Kevin Joseph, the CEO of WCMC, claims to know nothing about surgery
operations in his hospital

35. Kevin Joseph, the CEO, claims a hospital must protect patients from
unnecessary harm “as much as they can.”

36. Kevin Joseph, the CEO, claims WCMC doesn’t have oversight of surgeons
doing what Plaintiff claims Durrani was doing. (Despite what his bylaws
state.) _

37. Kevin Joseph, the CEO, denies the hospital has any responsibility if Dr.
Durrani did an unnecessary surgery.

38. Kevin Joseph, the CEO, despite his finance office tracking it, denies any
knowledge of BMP-2 use.'

39. Kevin Joseph, the CEO, denies brewing about any complaints about Dr.
Durrani.

40. Kevin Joseph, the CEO, admits they benefited financially from Dr. Durrani,
including his own pay. .

41. Mark Tromba, the OR manager, admits BMP-2 use as used by Dr. Durrani.

42. According to J eff Drapalik, the Senior Leadership team, including Joseph, met
weekly and reviewed numbers

43. According to leff Drapalik, the CF 0 of WCMC knew Dr. Durrani was a high
volume money maker.

 

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44. Lesley Gilbertson, a member of the MEC of WCMC, and anesthesiologist
working with Durrani, had _a concern about how long Durrani kept patients
under.

45. According to materials manager, Dennis Robb, WCMC knew th_e volumes of
BMP»Z being used.

46. According to Karen Ghaffari, WCMC knew the chart documentation of Dr.
Durrani was not in compliance with their bylaws.

47. Patrick Baker, nursing VP at WCMC admits WCMC tracked the financial
performance of Dr. Durrani.

48. According to nurse, Vicki Scott, the administration of WCMC knew from the
outset of West Chester all the serious issues pertaining to Dr. Dt_nrani.

49. According to Vicki Scott, West Chester’s risk manager began to ignore
complaints from Ms. Scott.

50. According to Vicki Scott, staff was scared to speak out.

51. According to Vicki Scott, patients didn’t know who did the surgeries_Shanti
or Durrani.

52. According to Vicki Scott, records were not accurate who was in the OR at
what time. ~

53. According to Vicki Scott, everyone at WCMC knew it was about money.

54. According to Vicki Scott, WCMC knew about Dr. Durrani’s and West
Chester’s illegal use of PureGen.

f ` .
55. According to Vicki Scott, Dr. Durrani was a behavior problem.

56 . According to patient representative Elizabeth Dean, WCMC tracked Dr.
Durrani’s volumes from the outset and the CFO loved what he saw.

57. According to Elizabeth Dean, WCMC knew Dr. Durrani had issues at
Children‘s.

58. According to Elizabeth Dean, WCMC knew Dr. Durrani was performing
unnecessary procedures by volumes and repeats.

59. According to nurse, Scott Rimer, WCMC knew Dr. Durrani waited until after
surgeries to document what procedures were planned.

 

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60. According to Scott Rirner, patients at WCMC had procedures they did not
consent to and WCMC knew it.

61. According to Scott Rimer, sterile fields were not protected

62’. According to Scott Rimer, WCMC knew PureGen was being used by Dr.
Durrani and allowed it`.

63. According to Thomas Blank, PureGen was an alternative to BMP-Z, which
WCMC turned to based upon insurance denials of BMP-Z. In addition, Dr.
Durrani operated an unethical POD of Alphatech called Evolution Medical to
sell PureGen to West Chester.

64. According to Gerry Goodman, WCMC tracked BMP-Z use by Dr. Durrani;
patients did not know who at times performed their surgery Dr. Shanti or Dr.
Durrani; electronic records had to be changed after Dr. Durrani’s surgery; Dr.
Durrani and WCMC never obtained informed consents; Dr. Durrani’s volume
was a warning sign of overutilization. Gerry Goodman reported all these
concerns to WCMC and there was no action. Gerry Goodman was told and ~
concluded that WCMC did not want to do anything about Dr. Durrani because
of money rewards.

ADDITIONAL OPINIONS

65. The Center of Advanced Spine Technologies (CAST) negligently supervised
and retained Dr. Durrani, including by allowing Dr. Durrani to perform
unnecessary procedures and surgeries; use BMP-2 and/or PureGen without
appropriate consent; failing to disclose Dr. Shanti and others involvement in
surgery; improper billing; changing the pre-op and post-op records to coincide
when the surgery was not the surgery disclosed; and all other conduct detailed
in the documents l reviewed

66. WCMC, UC Health and CAST’s motive for their actions and inactions
towards Dr. Durrani was financial gain.

67. The MEC, administration and Boards of WCMC and UC Health failed to
“govern the affairs of the Medical Staff`.”

68. The MEC, administration and Boards dr WCMC and UC Health failed id
enforce their rules upon Dr. Durrani as they were required to do.

69. The MEC, administration and Boards dr w`cMc and Uc Health failed to
provide oversight of Dr. Durrani as they Were required to do.

70. The MEC, administration and Boards of WCMC and UC Health failed to
properly evaluate Dr. Durrani.

 

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82.

The Orthopedic and Surgery Departments abdicated their responsibility under
the MEC bylaws to review, investigate and supervise Dr. Durrani.

The MEC, administration and Boards of WCMC and UC Health failed to
properly discipline Dr. Durrani including summary suspensions and
revocation

The MEC, administration and Boards of WCMC and UC Health failed to
properly discipline under the MEC bylaws as it pertains to Dr. Durrani.

The MEC, administration and Boards of WCMC and UC Health ignored the
information readily available pertaining to Dr. Durrani before credentialing
and granting him privileges

The MEC, administration and Boards of WCMC and UC Health failed to act
on Dr. Durrani’s disruptive behavior, unprofessional behavior and clinical
performance placing Plaintiff at risk.

The MEC, administration and Boards of WCMC and UC Health certified and
approved the unnecessary procedures of Dr. Durrani on Plaintiff knowing they
were unnecessary and knowingly allowing the improper use of BMP~Z and/or
PureGen and knowing there was not proper informed consent

The MEC, administration and Boards of WCMC and UC Health failed to act
on Dr. Durrani’s failure in'medical record documentation

The MEC, administration and Boards of WCMC and UC Health failed to
require Dr. Durrani to follow the rules for off label experimental procedures

The MEC, administration and Boards of WCMC and UC Health allowed Dr.
Durrani to use undisclosed and unqualified surgeons to perform his surgeries
including Dr. Shanti.

The MEC, administration and Boards of WCMC and UC Health allowed Dr.
Durrani to do multiple surgeries at once.

WCMC and UC Health have refused to provide as privileged the peer review
information from WCMC for Dr. Durrani to either me or their own expert
Therefore, we have no knowledge of what action, if any, was taken against
him. However, based upon the facts here, it is obvious they failed to take
action. 7

Based upon all of the above, it’s my opinion that WCMC and UC Health were
negligent in their credentialing, supervising, disciplining and retaining Dr.
Durrani on staff and allowing him to obtain and keep privileges at WCMC

 

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N_OV. L. ZVIS V:F|A|V| No' }583 P_ 3

under the standards of Ohio as detailed in the Brenda Shell’s Response to
Motion for Summary Jndgment and this proximately caused harm to Plaintiff.

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anna n. Wlti<EY, M.D.

AFFIANT SAYETH FURTHER NOT

NOTARY

SUBSCR]BED, SWORN TO AND ACKNOWLEDGED before me, a Notary Public, by

Keirh D.Wilkey,M.r`). minn ¢2= dayof/lolm 2015.

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My CommissionExp.: 07 9 BOH

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commission #15133313 Staw Of Z‘jii Y§UZA/}"¢

My cammisa|on Explras Ju| 18, 2019

 

 

